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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Task Force Officer (TFO) Kenneth Hale was on duty and
performing my official duties as a Law Enforcement Officer. Specifically, I am assigned to the
Federal Bureau Investigation (FBI), Joint Terrorism Task Force tasked with investigating criminal
activity in and around the Capitol grounds. As a TFO, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol
Police. Restrictions around the U.S. Capitol include permanent and temporary security barriers
and posts manned by U.S. Capitol Police. Only authorized people with appropriate identification
are allowed access inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S.
Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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       FBI Agents received a tip that Matthew Bledsoe had been part of the group that entered the
Capitol illegally. Upon following up, they received a video compilation that was posted to his
Instagram account – theessentialmattbledsoe – which included several selfie photographs of Mr.
Bledsoe throughout the day and some videos clips. These images appear to be captured by Mr.
Bledsoe on a device he is carrying.

       A video compilation posted on theessentialmattbledsoe account shows the crowd
approaching the Capitol building. Another photo in the same video then shows people climbing
the walls of the building with a title added, that appears to have been taken from the top of the
wall. This is followed by a selfie that appears to look out from the Capitol onto the lawn.




       The compilation video then contains a clip of Mr. Bledsoe and his companions immediately
outside an exterior door of the Capitol. An alarm can be heard blaring in the background. His
companion says, “We’re going in!” Mr. Bledsoe turns the camera to show the door then says, “In
the Capitol. This is our house. We pay for this shit. Where’s those pieces of shit at?” As he’s
walking and talking, the video shows him passing through the outer door and into the hallway.
The two screenshots below to the left show Mr. Bledsoe prior to entry and the two to the right
show him after entry.
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The video ends with another video clip captured by a person out of view of the camera where the crowd is
chanting, “Stop the steal! Stop the steal!,” as they march through the halls of the Capitol.

       Mr. Bledsoe’s identity was also checked against his driver’s license photo which shows him to be
the same person shown in the video and photos in theessentialmattbledsoe account.




         The tip also led agents to a post by Mr. Bledsoe’s wife on her Facebook page, raisingbledsoes, in
which she stated that “Matt was inside the Capitol, he was one of the first. They yelled and screamed, that’s
about it.” “My husband is a Patriot solider. [sic]”

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Matthew Bledsoe violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.
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        Your affiant submits there is also probable cause to believe that Matthew Bledsoe violated
40 U.S.C. § 5104(e)(2)(C, D, and G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                              _________________________________
                                                    Kenneth Hale
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this the 13th day of January 2021.

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                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
